






In The



Court of Appeals



Ninth District of Texas at Beaumont



____________________



NO. 09-05-271 CR


____________________



LAQUINTA R. CARRIER, Appellant



V.



THE STATE OF TEXAS, Appellee






On Appeal from the 252nd District Court


Jefferson County, Texas


Trial Cause No. 90164






MEMORANDUM OPINION


	LaQuinta R. Carrier was convicted and sentenced on an indictment for aggravated
assault.  Carrier filed a notice of appeal on June 16, 2005.  The trial court entered a
certification of the defendant's right to appeal in which the court certified that this is a
plea-bargain case and the defendant has no right of appeal.  See Tex. R. App. P.
25.2(a)(2).  The trial court's certification has been provided to the Court of Appeals by the
district clerk.

	On June 22, 2005, we notified the parties that the appeal would be dismissed unless
an amended certification was filed within thirty days of the date of the notice and made a
part of the appellate record.  See Tex. R. App. P. 37.1.  The parties have not identified
any issues unrelated to the appellant's conviction and the record has not been supplemented
with an amended certification.  Because a certification that shows the defendant has the
right of appeal has not been made part of the record, the appeal must be dismissed.  See
Tex. R. App. P. 25.2(d).

	Accordingly, we dismiss the appeal for want of jurisdiction.

	APPEAL DISMISSED.

								___________________________

								         DAVID GAULTNEY

									          Justice


Opinion Delivered August 10, 2005

Do Not Publish

Before Gaultney, Kreger and Horton, JJ.


